           Case 2:19-bk-23085-BB Doc 283 Filed 12/01/23 Entered 12/01/23 21:22:51                                                                     Desc
                               Imaged Certificate of Notice Page 1 of 5
                                                                United States Bankruptcy Court
                                                                 Central District of California
In re:                                                                                                                   Case No. 19-23085-BB
Youth Policy Institute, Inc.                                                                                             Chapter 7
       Debtor
                                                      CERTIFICATE OF NOTICE
District/off: 0973-2                                                    User: admin                                                                 Page 1 of 2
Date Rcvd: Nov 29, 2023                                                 Form ID: pdf042                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                  Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                   regulations require that automation-compatible mail display the correct ZIP.

#                  Addresses marked '#' were identified by the USPS National Change of Address system as requiring an update. While the notice was still deliverable,
                   the notice recipient was advised to update its address with the court immediately.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 01, 2023:
Recip ID                  Recipient Name and Address
db                     #+ Youth Policy Institute, Inc., 6464 Sunset Blvd., Suite 650, Los Angeles, CA 90028-8008

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                        BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 01, 2023                                             Signature:            /s/Gustava Winters




                                    CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on November 29, 2023 at the address(es) listed
below:
Name                                Email Address
Andy C Warshaw
                                    on behalf of Creditor Evaluation Specialists awarshaw@bwlawcenter.com warshaw.andyb110606@notify.bestcase.com

Brian L Davidoff
                                    on behalf of Trustee Jason M Rund (TR) bdavidoff@greenbergglusker.com
                                    calendar@greenbergglusker.com;jking@greenbergglusker.com;cmillerwatkins@greenbergglusker.com

Christopher E Prince
                                    on behalf of Defendant Dixon Slingerland cprince@lesnickprince.com
                                    jmack@lesnickprince.com;cprince@ecf.courtdrive.com;jnavarro@lesnickprince.com

Christopher E Prince
                                    on behalf of Interested Party Courtesy NEF cprince@lesnickprince.com
                                    jmack@lesnickprince.com;cprince@ecf.courtdrive.com;jnavarro@lesnickprince.com
         Case 2:19-bk-23085-BB Doc 283 Filed 12/01/23 Entered 12/01/23 21:22:51                                                        Desc
                             Imaged Certificate of Notice Page 2 of 5
District/off: 0973-2                                          User: admin                                                             Page 2 of 2
Date Rcvd: Nov 29, 2023                                       Form ID: pdf042                                                        Total Noticed: 1
Daniel C Sharpe
                             on behalf of Creditor I. A. daniel.c.sharpe@me.com

Daniel C Sharpe
                             on behalf of Creditor A.M. daniel.c.sharpe@me.com

David W. Meadows
                             on behalf of Interested Party Courtesy NEF david@davidwmeadowslaw.com

David W. Meadows
                             on behalf of Creditor MDB International Branding LLC david@davidwmeadowslaw.com

EmmaElizabeth A Gonzalez
                             on behalf of Interested Party Courtesy NEF egonzalez@publiccounsel.org

Genevieve G Weiner
                             on behalf of Creditor Nonprofit Finance Fund gweiner@sidley.com
                             laefilingnotice@sidley.com;genevieve-weiner-0813@ecf.pacerpro.com;psantos@sidley.com

Hayes F Michel
                             on behalf of Defendant Hill Morgan and Associates, LLP hmichel@krakowskymichel.com

Jason M Rund (TR)
                             trustee@srlawyers.com jrund@ecf.axosfs.com

Jeffrey A Krieger
                             on behalf of Trustee Jason M Rund (TR) jkrieger@ggfirm.com
                             kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com

Keith Patrick Banner
                             on behalf of Plaintiff JASON M RUND kbanner@greenbergglusker.com
                             calendar@greenbergglusker.com;cmillerwatkins@greenbergglusker.com

Keith Patrick Banner
                             on behalf of Trustee Jason M Rund (TR) kbanner@greenbergglusker.com
                             calendar@greenbergglusker.com;cmillerwatkins@greenbergglusker.com

Kevin Meek
                             on behalf of Debtor Youth Policy Institute Inc. kmeek@robinskaplan.com,
                             kevinmeek32@gmail.com;kmeek@ecf.inforuptcy.com

Magdalena R Bordeaux
                             on behalf of Interested Party Courtesy NEF mbordeaux@publiccounsel.org

Matthew N Sirolly
                             on behalf of Creditor Labor Commissioner California, Division of Labor Standards Enforcement msirolly@dir.ca.gov

Philip D Dracht
                             on behalf of Plaintiff JASON M RUND pdracht@drachtlaw.com

Robert D Bass
                             on behalf of Attorney Robert D. Bass bob.bass47@icloud.com

Sasha M Gurvitz
                             on behalf of Creditor California Community Foundation sgurvitz@ktbslaw.com

Shawn M Christianson
                             on behalf of Interested Party Courtesy NEF cmcintire@buchalter.com schristianson@buchalter.com

Sheryl K Ith
                             on behalf of Creditor Ford Motor Credit Company LLC sith@cookseylaw.com

Steven Goldsobel
                             on behalf of Defendant Steven Schultz steve@sgoldsobel.com vandad@sgoldsobel.com

Summer M Shaw
                             on behalf of Defendant Suzanne M. Steinke A Professional Corporation ss@shaw.law
                             shawsr70161@notify.bestcase.com;shawsr91811@notify.bestcase.com

Summer M Shaw
                             on behalf of Interested Party Summer Shaw ss@shaw.law shawsr70161@notify.bestcase.com;shawsr91811@notify.bestcase.com

Summer M Shaw
                             on behalf of Defendant Suzanne M Steinke ss@shaw.law shawsr70161@notify.bestcase.com;shawsr91811@notify.bestcase.com

United States Trustee (LA)
                             ustpregion16.la.ecf@usdoj.gov


TOTAL: 28
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Attorney or Trustee Name, Address, Telephone & FAX                        FOR COURT USE ONLY
Numbers, State Bar No. & Email Address

Jason M. Rund
270 Coral Circle                                                                                        FILED & ENTERED
El Segundo, CA 90245
Telephone: (310) 640-1200
Facsimile: (310) 640-0200                                                                                       NOV 29 2023
Email:     trustee@srlawyers.com
                                                                                                          CLERK U.S. BANKRUPTCY COURT
                                                                                                          Central District of California
                                                                                                          BY evangeli DEPUTY CLERK


     Attorney for chapter 7 trustee
     Chapter 7 trustee

                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

In re:                                                                    CASE NO.: 2:19-bk-23085-BB
                                                                          CHAPTER: 7


YOUTH POLICY INSTITUTE, INC.,                                                      AMENDED ORDER ON FINAL FEE
                                                                              APPLICATIONS ALLOWING PAYMENT OF:
                                                                              (1) COURT AND U.S. TRUSTEE FEES; AND
                                                                                  (2) FINAL FEES AND EXPENSES OF
                                                                                   TRUSTEE AND PROFESSIONALS
                                                                                           [LBR 2016-1(c)(4)]
                                                                          DATE: November 15, 2023
                                                                          TIME: 2:00 p.m.
                                                                          COURTROOM: 1539
                                                                          ADDRESS: 255 East Temple Street, Los Angeles, CA 90012


                                                              Debtor.

7KHFKDSWHUWUXVWHHILOHGD7UXVWHH¶V)LQDO5HSRUWLQWKLVFDVH$SSOLFDWLRQVIRUILQDOFRPSHQVDWLRQZHUHILOHGE\WKH
chapter 7 trustee and, if applicable, other professionals. Based on findings and conclusions made by the court, IT IS
ORDERED: Fees and expenses are approved as follows, and if not already paid may be paid:

1. Fees: U.S. Bankruptcy Court and U.S. Trustee
   U.S. Bankruptcy Court fees (specify)
                                                                        $                         350.00
                                                                        $
                                                                        $


     Subtotal of court fees:                                            $                         350.00
     U.S. Trustee fees                                                  $                            0.00
     Total allowed court and U.S. Trustee fees                          $                         350.00

         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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     Case 2:19-bk-23085-BB Doc 283 Filed 12/01/23 Entered 12/01/23 21:22:51                                                                          Desc
                         Imaged Certificate of Notice Page 4 of 5
2. Professional Fees and Expenses:

    a. Chapter 7 Professional Fees and Expenses:

                               Total Final Request                Total Allowed                 Paid-to-Date           Remaining to be Paid
          LAW OFFICE OF PHILIP DRACHT Special Counsel for Trustee
                Fees           $        1,612,642.68          $       1,612,642.68          $     1,612,642.68         $                      0.00
                Expenses $                    1,701.96        $             1,701.96        $           1,701.96       $                      0.00
          Greenberg Glusker Fields Clayman & Machtinger LLP Attorney for Trustee
                Fees           $           558,314.50         $         558,314.50          $                0.00      $             558,314.50
                Expenses $                    9,488.16        $             9,488.16        $                0.00      $                9,488.16
          HAHN FIFE & COMPANY LLP Accountant for Trustee
                Fees           $            40,476.00         $           40,476.00         $                0.00      $              40,476.00
                Expenses $                      921.10        $               921.10        $                0.00      $                    921.10
          Barbara J Schwartz Retirement Plan Consultant
                Fees           $                590.63        $               590.63        $                0.00      $                    590.63
                Expenses $                          0.00      $                  0.00       $                0.00      $                      0.00
          Interco Management Corporation 7UXVWHH¶V)LHOG$JHQW
                Fees           $            45,000.00         $           45,000.00         $                0.00      $              45,000.00
                Expenses $                    5,681.40        $             5,681.40        $                0.00      $                5,681.40



       Additional professional fees and expenses attached.


    b. Chapter 11 Professional Fees and Expenses (prior to conversion to chapter 7): N/A

                               Total Final Request                Total Allowed                 Paid-to-Date           Remaining to be Paid
          NONE
                Fees           $                    0.00      $                  0.00       $                0.00      $                      0.00
                Expenses $                          0.00      $                  0.00       $                0.00      $                      0.00



       Additional professional fees and expenses attached.




       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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      Case 2:19-bk-23085-BB Doc 283 Filed 12/01/23 Entered 12/01/23 21:22:51                                                                        Desc
                          Imaged Certificate of Notice Page 5 of 5
3. Trustee Fees and Expenses:

     a. Chapter 7 Trustee Fees and Expenses:

                                Total Final Request                Total Allowed               Paid-to-Date             Remaining to be Paid
           Trustee JASON M. RUND:
                Fees             $           223,584.32        $         223,584.32           $               0.00      $             223,584.32
                Expenses         $              6,377.13       $             6,377.13         $               0.00      $                6,377.13
                Bank Fees        $             47,421.34       $           47,421.34          $        47,421.34        $                    0.00
                Bond             $              6,857.05       $             6,857.05         $          6,857.05       $                    0.00
                Taxes            $              3,793.68       $             3,793.68         $               0.00      $                3,793.68
                Taxes            $             18,118.52       $           18,118.52          $               0.00      $              18,118.52
           Employer Payroll

            Additional trustee fees and expenses attached.

     b. Chapter 11 Trustee Fees and Expenses (prior to conversion to chapter 7): N/A

                                Total Final Request                Total Allowed               Paid-to-Date             Remaining to be Paid
           Trustee JASON M. RUND:
                Fees             $                    0.00     $                  0.00        $               0.00      $                    0.00
                Expenses         $                    0.00     $                  0.00        $               0.00      $                    0.00
                Bank Fees        $                    0.00     $                  0.00        $               0.00      $                    0.00
                Bond             $                    0.00     $                  0.00        $               0.00      $                    0.00
                Taxes            $                    0.00     $                  0.00        $               0.00      $                    0.00

            Additional trustee fees and expenses attached.

4. ,IWKHILQDOGLYLGHQGWRFUHGLWRUVLVWKHVDPHRUKLJKHUWKDQSURSRVHGLQWKH7UXVWHH¶V)LQDO5HSRUWWKHWUXVWHHVKDOO
   immediately proceed with the final distribution to creditors and professionals. If the final dividend to creditors is less
   WKDQWKDWZKLFKZDVSURSRVHGLQWKH7UXVWHH¶V)LQDO5HSRUWWKHWUXVWHHVKDOOLPPHGLDWHO\VXEPLWWRWKH867UXVWHH
   DQ$PHQGHG7UXVWHH¶V5HSRUWRI3URSRVHG'LVWULEXWLRQDQG'LYLGHQG3D\PHQWVZithin 30 days of the entry of this
   order. Within 14 days the U.S. Trustee will review the proposed distribution and notify the trustee to proceed with the
   final distribution to creditors and professionals. The distribution to creditors and professionals shall occur at the same
   time and no later than 90 days from the entry of this order.

5.     Other: THIS AMENDED ORDER AMENDS AND SUPERSEDES ³ORDER ON FINAL FEE APPLICATIONS´
     ENTERED ON THE DOCKET ON NOVEMBER 17, 2023 AT DOCKET NO.276.

                                                                         ###



                 Date: November 29, 2023




        This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

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